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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

 CRANBURY BRICK YARD, LLC,

              Plaintiff,                    Civ. Action No. 15-2789 (BRM) (LHG)

       v.                                   PLAINTIFF’S NOTICE OF APPEAL

 UNITED STATES OF AMERICA,
 THE UNITED STATES
 DEPARTMENT OF THE NAVY,
 and THE UNITED STATES
 DEPARTMENT OF THE ARMY,

              Defendants.


       Notice is hereby given that Cranbury Brick Yard, LLC (“CBY”), Plaintiff in

 the above-captioned case, hereby appeals to the United States Court of Appeals for

 the Third Circuit from the Order of the United States District Court for the District

 of New Jersey granting the Motion for Summary Judgment of Defendants United

 States of America, United States Department of the Navy, and United States

 Department of the Army (collectively “Defendants”) and denying CBY’s Motion

 for Summary Judgment entered in this action on September 17 (ECF No. 68), and

 the accompanying opinion (ECF No. 69) entered in this action on October 3, 2018.
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 Respectfully submitted,

                                    /s/ John McGahren
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 October 12, 2018




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                          CERTIFICATE OF SERVICE


       I, Stephanie R. Feingold, do hereby certify that a true and correct copy of

 Cranbury Brick Yard, LLC’s Notice of Appeal was served on all counsel of record

 by ECF.



                                              /s/ Stephanie R. Feingold
                                                 Stephanie R. Feingold

 October 17, 2018




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